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                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

IN RE:                                             Case No. 8:18-bk-08117-RCT
                                                   Chapter 7
SCOTT CRAWFORD,

            Debtor.
______________________________________/

                             BANK OF AMERICA, N.A.’S
                    MOTION FOR RELIEF FROM AUTOMATIC STAY
                      [Property Surrendered in Statement of Intent]


             NOTICE OF OPPORTUNITY TO OBJECT AND FOR HEARING

Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this paper
without further notice or hearing unless a party in interest files a response within 21 days
from the date set forth on the attached proof of service, plus an additional three days for
service if any party was served by U.S. Mail.

If you object to the relief requested in this paper, you must file a response with the Clerk of
the Court at 801 N. Florida Avenue, Suite 555, Tampa, FL 33602-3899, and serve a copy on
the movant’s attorney, Wanda D. Murray, at Aldridge | Pite LLP, Fifteen Piedmont
Center, 3575 Piedmont Road, N.E., Suite 500, Atlanta, GA 30305 and any other
appropriate persons within the time allowed. If you file and serve a response within the
time permitted, the Court will either schedule and notify you of a hearing, or consider the
response and grant or deny the relief requested without a hearing.

If you do not file a response within the time permitted, the Court will consider that you do
not oppose the relief requested in the paper, will proceed to consider the paper without
further notice or hearing, and may grant the relief requested.

         Bank of America, N.A. (“Movant”) hereby moves this Court, pursuant to 11 U.S.C. §362,
for relief from the automatic stay with respect to certain real property of the Debtor having an
address of 4623 Lake Valencia Blvd W, Palm Harbor, Florida 34684-3922 (the “Property”). In
further support of this Motion, Movant respectfully states:
      1.        A petition under Chapter 7 of the United States Bankruptcy Code was filed with
respect to the Debtor on September 25, 2018.
      2.        The Debtor has executed and delivered or is otherwise obligated with respect to
that certain promissory note in the principal amount of $249,734.00 (the “Note”). A true and
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correct copy of the Note is attached hereto as Exhibit A. Movant is an entity entitled to enforce
the Note.
      3.      Pursuant to that certain Mortgage (the “Mortgage”), all obligations (collectively,
the “Obligations”) of the Debtor under and with respect to the Note and the Mortgage are
secured by the Property. A true and correct copy of the Mortgage is attached hereto as Exhibit
B.
      4.      The Obligations have been modified pursuant to a loan modification, a true and
correct copy of which is attached hereto as Exhibit C.
      5.      The legal description of the Property is:
       LOT(S) R-28, BLOCK-B, LAKE VALENCIA – UNIT 2, ACCORDING TO PLAT
       THEREOF AS RECORDED IN PLAT BOOK 86, PAGE(S) 41 THROUGH 45, OF
       THE PUBLIC RECORDS OF PINELLAS COUNTY, FLORIDA.

      6.      As of the petition date, the outstanding unpaid principal balance under the Note
was $212,208.10.
      7.      The following chart sets forth the number and amount of payments due pursuant
to the terms of the Note that have been missed by the Debtor:


 Number of Missed      From                  To             Monthly        Total Missed
 Payments                                                   Payment        Payments
                                                            Amount
           3               9/1/2017           11/1/2017          $1,604.71       $4,814.13
           2              12/1/2017           1/1/2018           $1,621.44       $3,242.88
           9               2/1/2018           10/1/2018          $1,623.98     $14,615.82
 Less partial payments:                                                            ($ 0.00)

                                                                     Total:        $22,672.83
      8.      In addition to the other amounts due to Movant reflected in this Motion, as of the
date hereof, in connection with seeking the relief requested in this Motion, Movant has also
incurred $931.00 in legal fees and costs. Movant reserves all rights to seek an award or
allowance of such fees and expenses in accordance with applicable loan documents and related
agreements, the Bankruptcy Code and otherwise applicable law.
      9.      The estimated market value of the Property is $227,053.00. The basis for such
valuation is the Pinellas County Property Appraiser. A copy of the Pinellas County Property
Appraiser is attached hereto as Exhibit D.
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      10.       Upon information and belief, the aggregate amount of encumbrances on the
Property listed in the Schedules or otherwise known, including but not limited to the
encumbrances granted to Movant, is $256,440.90.
      11.       Cause exists for relief from the automatic stay for the following reasons:
            (a) Movant’s interest in the Property is not adequately protected. Movant’s interest in
the collateral is not protected by an adequate equity cushion. The fair market value of the
Property is declining and payments are not being made to Movant sufficient to protect Movant’s
interest against that decline.
            (b) Pursuant to 11 U.S.C. §362(d)(2)(A), Debtor has no equity in the Property; and
pursuant to 11 U.S.C. §362(d)(2)(B), the Property is not necessary for an effective
reorganization.
        WHEREFORE, Movant prays that this Court issue an Order terminating or modifying
the stay and granting the following:
       1.       Relief from the stay allowing Movant (and any successors and/or assigns) to
proceed under applicable non-bankruptcy law to enforce its remedies to foreclose upon and
obtain possession of the Property.
       2.       That the Order be binding and effective despite any conversion of this bankruptcy
case to a case under any other chapter of Title 11 of the United States Code.
       3.       For such other relief as the Court deems proper.
Dated: November 6, 2018                               Respectfully Submitted:




                                                      Wanda D. Murray
                                                      Bar No.: 566381
                                                      Aldridge Pite, LLP
                                                      Attorney for Secured Creditor
                                                      Fifteen Piedmont Center
                                                      3575 Piedmont Road, N.E., Suite 500
                                                      Atlanta, GA 30305
                                                      Phone: (404) 994-7400
                                                      Fax: (619) 590-1385
                                                      Email: WMurray@aldridgepite.com
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing Motion for Relief
from the Automatic Stay was served electronically or via U.S. Mail, first-class postage prepaid,
to:
DEBTOR ATTORNEY
(via electronic notice)
Alan D Borden
data@1800debtrelief.com

DEBTOR
Scott Crawford
4623 Lake Valencia Blvd. West
Palm Harbor, FL 34684

TRUSTEE
(via electronic notice)
Carolyn R. Chaney
carolyn.chaney@earthlink.net

UNITED STATES TRUSTEE
(via electronic notice)
United States Trustee - TPA7/13, 7
Timberlake Annex, Suite 1200
501 E Polk Street
Tampa, FL 33602
USTPRegion21.TP.ECF@USDOJ.GOV

Dated: November 6, 2018

                                                   /s/ Wanda D. Murray
                                                   Wanda D. Murray
                                                   Bar No.: 566381
                                                   Aldridge Pite, LLP
                                                   Attorney for Secured Creditor
                                                   Fifteen Piedmont Center
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